4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 1 of 198 - Page ID #
                                      879
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 2 of 198 - Page ID #
                                      880
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 3 of 198 - Page ID #
                                      881
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 4 of 198 - Page ID #
                                      882
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 5 of 198 - Page ID #
                                      883
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 6 of 198 - Page ID #
                                      884
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 7 of 198 - Page ID #
                                      885
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 8 of 198 - Page ID #
                                      886
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 9 of 198 - Page ID #
                                      887
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 10 of 198 - Page ID #
                                      888
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 11 of 198 - Page ID #
                                      889
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 12 of 198 - Page ID #
                                      890
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 13 of 198 - Page ID #
                                      891
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 14 of 198 - Page ID #
                                      892
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 15 of 198 - Page ID #
                                      893
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 16 of 198 - Page ID #
                                      894
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 17 of 198 - Page ID #
                                      895
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 18 of 198 - Page ID #
                                      896
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 19 of 198 - Page ID #
                                      897
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 20 of 198 - Page ID #
                                      898
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 21 of 198 - Page ID #
                                      899
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 22 of 198 - Page ID #
                                      900
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 23 of 198 - Page ID #
                                      901
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 24 of 198 - Page ID #
                                      902
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 25 of 198 - Page ID #
                                      903
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 26 of 198 - Page ID #
                                      904
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 27 of 198 - Page ID #
                                      905
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 28 of 198 - Page ID #
                                      906
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 29 of 198 - Page ID #
                                      907
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 30 of 198 - Page ID #
                                      908
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 31 of 198 - Page ID #
                                      909
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 32 of 198 - Page ID #
                                      910
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 33 of 198 - Page ID #
                                      911
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 34 of 198 - Page ID #
                                      912
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 35 of 198 - Page ID #
                                      913
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 36 of 198 - Page ID #
                                      914
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 37 of 198 - Page ID #
                                      915
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 38 of 198 - Page ID #
                                      916
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 39 of 198 - Page ID #
                                      917
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 40 of 198 - Page ID #
                                      918
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 41 of 198 - Page ID #
                                      919
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 42 of 198 - Page ID #
                                      920
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 43 of 198 - Page ID #
                                      921
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 44 of 198 - Page ID #
                                      922
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 45 of 198 - Page ID #
                                      923
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 46 of 198 - Page ID #
                                      924
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 47 of 198 - Page ID #
                                      925
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 48 of 198 - Page ID #
                                      926
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 49 of 198 - Page ID #
                                      927
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 50 of 198 - Page ID #
                                      928
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 51 of 198 - Page ID #
                                      929
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 52 of 198 - Page ID #
                                      930
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 53 of 198 - Page ID #
                                      931
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 54 of 198 - Page ID #
                                      932
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 55 of 198 - Page ID #
                                      933
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 56 of 198 - Page ID #
                                      934
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 57 of 198 - Page ID #
                                      935
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 58 of 198 - Page ID #
                                      936
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 59 of 198 - Page ID #
                                      937
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 60 of 198 - Page ID #
                                      938
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 61 of 198 - Page ID #
                                      939
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 62 of 198 - Page ID #
                                      940
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 63 of 198 - Page ID #
                                      941
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 64 of 198 - Page ID #
                                      942
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 65 of 198 - Page ID #
                                      943
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 66 of 198 - Page ID #
                                      944
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 67 of 198 - Page ID #
                                      945
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 68 of 198 - Page ID #
                                      946
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 69 of 198 - Page ID #
                                      947
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 70 of 198 - Page ID #
                                      948
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 71 of 198 - Page ID #
                                      949
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 72 of 198 - Page ID #
                                      950
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 73 of 198 - Page ID #
                                      951
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 74 of 198 - Page ID #
                                      952
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 75 of 198 - Page ID #
                                      953
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 76 of 198 - Page ID #
                                      954
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 77 of 198 - Page ID #
                                      955
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 78 of 198 - Page ID #
                                      956
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 79 of 198 - Page ID #
                                      957
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 80 of 198 - Page ID #
                                      958
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 81 of 198 - Page ID #
                                      959
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 82 of 198 - Page ID #
                                      960
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 83 of 198 - Page ID #
                                      961
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 84 of 198 - Page ID #
                                      962
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 85 of 198 - Page ID #
                                      963
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 86 of 198 - Page ID #
                                      964
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 87 of 198 - Page ID #
                                      965
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 88 of 198 - Page ID #
                                      966
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 89 of 198 - Page ID #
                                      967
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 90 of 198 - Page ID #
                                      968
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 91 of 198 - Page ID #
                                      969
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 92 of 198 - Page ID #
                                      970
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 93 of 198 - Page ID #
                                      971
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 94 of 198 - Page ID #
                                      972
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 95 of 198 - Page ID #
                                      973
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 96 of 198 - Page ID #
                                      974
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 97 of 198 - Page ID #
                                      975
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 98 of 198 - Page ID #
                                      976
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 99 of 198 - Page ID #
                                      977
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 100 of 198 - Page ID #
                                      978
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 101 of 198 - Page ID #
                                      979
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 102 of 198 - Page ID #
                                      980
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 103 of 198 - Page ID #
                                      981
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 104 of 198 - Page ID #
                                      982
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 105 of 198 - Page ID #
                                      983
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 106 of 198 - Page ID #
                                      984
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 107 of 198 - Page ID #
                                      985
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 108 of 198 - Page ID #
                                      986
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 109 of 198 - Page ID #
                                      987
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 110 of 198 - Page ID #
                                      988
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 111 of 198 - Page ID #
                                      989
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 112 of 198 - Page ID #
                                      990
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 113 of 198 - Page ID #
                                      991
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 114 of 198 - Page ID #
                                      992
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 115 of 198 - Page ID #
                                      993
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 116 of 198 - Page ID #
                                      994
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 117 of 198 - Page ID #
                                      995
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 118 of 198 - Page ID #
                                      996
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 119 of 198 - Page ID #
                                      997
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 120 of 198 - Page ID #
                                      998
4:07-cr-03005-RGK-RGK   Doc # 183-2   Filed: 09/11/09   Page 121 of 198 - Page ID #
                                      999
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 122 of 198 - Page ID #
                                      1000
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 123 of 198 - Page ID #
                                      1001
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 124 of 198 - Page ID #
                                      1002
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 125 of 198 - Page ID #
                                      1003
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 126 of 198 - Page ID #
                                      1004
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 127 of 198 - Page ID #
                                      1005
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 128 of 198 - Page ID #
                                      1006
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 129 of 198 - Page ID #
                                      1007
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 130 of 198 - Page ID #
                                      1008
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 131 of 198 - Page ID #
                                      1009
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 132 of 198 - Page ID #
                                      1010
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 133 of 198 - Page ID #
                                      1011
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 134 of 198 - Page ID #
                                      1012
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 135 of 198 - Page ID #
                                      1013
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 136 of 198 - Page ID #
                                      1014
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 137 of 198 - Page ID #
                                      1015
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 138 of 198 - Page ID #
                                      1016
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 139 of 198 - Page ID #
                                      1017
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 140 of 198 - Page ID #
                                      1018
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 141 of 198 - Page ID #
                                      1019
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 142 of 198 - Page ID #
                                      1020
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 143 of 198 - Page ID #
                                      1021
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 144 of 198 - Page ID #
                                      1022
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 145 of 198 - Page ID #
                                      1023
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 146 of 198 - Page ID #
                                      1024
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 147 of 198 - Page ID #
                                      1025
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 148 of 198 - Page ID #
                                      1026
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 149 of 198 - Page ID #
                                      1027
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 150 of 198 - Page ID #
                                      1028
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 151 of 198 - Page ID #
                                      1029
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 152 of 198 - Page ID #
                                      1030
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 153 of 198 - Page ID #
                                      1031
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 154 of 198 - Page ID #
                                      1032
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 155 of 198 - Page ID #
                                      1033
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 156 of 198 - Page ID #
                                      1034
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 157 of 198 - Page ID #
                                      1035
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 158 of 198 - Page ID #
                                      1036
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 159 of 198 - Page ID #
                                      1037
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 160 of 198 - Page ID #
                                      1038
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 161 of 198 - Page ID #
                                      1039
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 162 of 198 - Page ID #
                                      1040
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 163 of 198 - Page ID #
                                      1041
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 164 of 198 - Page ID #
                                      1042
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 165 of 198 - Page ID #
                                      1043
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 166 of 198 - Page ID #
                                      1044
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 167 of 198 - Page ID #
                                      1045
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 168 of 198 - Page ID #
                                      1046
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 169 of 198 - Page ID #
                                      1047
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 170 of 198 - Page ID #
                                      1048
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 171 of 198 - Page ID #
                                      1049
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 172 of 198 - Page ID #
                                      1050
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 173 of 198 - Page ID #
                                      1051
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 174 of 198 - Page ID #
                                      1052
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 175 of 198 - Page ID #
                                      1053
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 176 of 198 - Page ID #
                                      1054
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 177 of 198 - Page ID #
                                      1055
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 178 of 198 - Page ID #
                                      1056
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 179 of 198 - Page ID #
                                      1057
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 180 of 198 - Page ID #
                                      1058
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 181 of 198 - Page ID #
                                      1059
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 182 of 198 - Page ID #
                                      1060
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 183 of 198 - Page ID #
                                      1061
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 184 of 198 - Page ID #
                                      1062
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 185 of 198 - Page ID #
                                      1063
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 186 of 198 - Page ID #
                                      1064
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 187 of 198 - Page ID #
                                      1065
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 188 of 198 - Page ID #
                                      1066
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 189 of 198 - Page ID #
                                      1067
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 190 of 198 - Page ID #
                                      1068
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 191 of 198 - Page ID #
                                      1069
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 192 of 198 - Page ID #
                                      1070
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 193 of 198 - Page ID #
                                      1071
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 194 of 198 - Page ID #
                                      1072
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 195 of 198 - Page ID #
                                      1073
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 196 of 198 - Page ID #
                                      1074
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 197 of 198 - Page ID #
                                      1075
4:07-cr-03005-RGK-RGK   Doc # 183-2    Filed: 09/11/09   Page 198 of 198 - Page ID #
                                      1076
